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     Immigration Reform Law Institute
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10                                UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
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     THE REGENTS OF THE UNIVERSITY OF                Case No. C 17-05211 WHA
14   CALIFORNIA and JANET NAPOLITANO,                Case No. C 17-05235 WHA
     in her official capacity as President of the    Case No. C 17-05329 WHA
15   University of California,                       Case No. C 17-05380 WHA
                                                     Case No. C 17-05813 WHA
16                 Plaintiffs,
17
                      v.
                                                     Hearing Date: December 20, 2017, at 8 a.m.
18
     UNITED STATES DEPARTMENT OF
19   HOMELAND SECURITY and ELAINE
     DUKE, in her official capacity as Acting        [PROPOSED] ORDER GRANTING
20   Secretary of the Department of Homeland         MOTION OF IMMIGRATION REFORM
     Security,                                       LAW INSTITUTE FOR LEAVE TO
21                                                   FILEAMICUS CURIAE BRIEF IN
                 Defendants.                         SUPPORT OF DEFENDANTS
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23                                                   Judge: Honorable William Alsup
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     [PROPOSED] ORDER GRANTING MOTION OF IMMIGRATION REFORM LAW INSTITUTE FOR LEAVE
     TO FILEAMICUS CURIAE BRIEF IN SUPPORT OF DEFENDANTS
     All DACA Cases (Case Nos. C 17-05211-WHO, C 17-05235-WHO, C 17-05329-WHO, 17-05380-WHO, C 17-
     05813-WHO)
1                                        [PROPOSED] ORDER

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            On November 1, 2017, the Immigration Reform Law Institute filed an Administrative
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     Motion for Leave to File Amicus Brief in Support of Defendants and Dismissal. Having
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     considered the papers and pleadings on file, the Court GRANTS the Motion of the Immigration
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6    Reform Law Institute leave to file amicus curiae brief in Support of defendants and dismissal.

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     IT IS SO ORDERED.
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     DATED:
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      November 1
     ________________________, 2017 .

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15                                                THE HONORABLE WILLIAM ALSUP
                                                  UNITED STATES DISTRICT COURT JUDGE
16                                                NORTHERN DISTRICT OF CALIFORNIA
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     [PROPOSED] ORDER GRANTING MOTION OF IMMIGRATION REFORM LAW INSTITUTE FOR LEAVE
     TO FILEAMICUS CURIAE BRIEF IN SUPPORT OF DEFENDANTS
     All DACA Cases (Case Nos. C 17-05211-WHO, C 17-05235-WHO, C 17-05329-WHO, 17-05380-WHO, C 17-
     05813-WHO)

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